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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JAN BUKOWSKI,                                )
                                             )
                       Plaintiff,            )       Case No. 2019-cv-6859
                                             )
       v.                                    )       Hon. Sharon Johnson Coleman
                                             )
CHICAGO MEAT AUTHORITY, INC.,                )       Magistrate Judge Maria Valdez
                                             )
                       Defendant.            )

                            JOINT STATUS REPORT ON
                      DISCOVERY AND SETTLEMENT PROGRESS

       Plaintiff Jan Bukowski (“Plaintiff”) and Defendant Chicago Meat Authority, Inc.

(“Defendant”) hereby submit the following Joint Status Report on Discovery and Settlement

Progress pursuant to Judge Valdez’s Order on June 24, 2020 [ECF No. 35]:

   A. Progress of discovery:

           The parties served their Rule 26 Disclosures on March 6, 2020.

           Defendant served five Rule 45 subpoenas on Plaintiff’s former employers on
            February 27, 2020, and served the responsive documents on Plaintiff shortly after
            receipt, and upon new counsel after they were assigned to the case.

           Defendant served its First Set of Interrogatories and Requests to Produce to Plaintiff
            on March 9, 2020. Plaintiff’s responses were initially due on April 8, 2020. Based on
            Chief Judge Pallmeyer’s three General Orders relating to COVID-19, the Court’s
            extension of 60 days for Plaintiff to serve responses, and an extension requested by
            Plaintiff’s counsel, Plaintiff served its written responses on September 18, 2020.

           Plaintiff served its written discovery on Defendant on March 31, 2020. Defendant’s
            responses were initially due on April 30, 2020. Based on Chief Judge Pallmeyer’s three
            General Orders relating to COVID-19, the Court’s extension of 60 days for Plaintiff to
            serve responses, and an extension requested by Plaintiff’s counsel to discovery due
            dates, Defendant’s responses are now due October 12, 2020.

           Upon completion of written discovery, Defendant plans to schedule Plaintiff’s
            deposition, and Plaintiff will schedule its needed depositions.
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         Fact discovery was initially set to end on August 31, 2020. Based on Chief Judge
          Pallmeyer’s three General Orders relating to COVID-19, fact discovery is currently set
          to end on November 16, 2020.

         The dispositive motion deadline was initially set for 60 days following the close of
          discovery.

  B. Settlement:

         Plaintiff provided its first settlement demand on September 18, 2020. Defendant is
          currently considering the demand and will respond as appropriate.

         The parties will request a settlement conference if they believe it will be helpful in
          resolving the case more effectively, should settlement be a viable option.


September 25, 2020

Respectfully submitted,

JAN BUKOWSKI                                       CHICAGO MEAT AUTHORITY, INC.

By: /s/ Michael I. Leonard (with permission)       By: /s/ Deborah H. Share
            One of His Attorneys                               One of Its Attorneys

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                                CERTIFICATE OF SERVICE

       The undersigned attorney certifies that on September 25, 2020, she caused the foregoing
Joint Status Report on Discovery and Settlement Progress to be filed electronically with the Clerk
of Court using the ECF system, which sent notification of such filing to:

                                      Michael I. Leonard
                                      Rebecca S. Chacko
                                    LEONARD MEYER, LLP
                                120 N. LaSalle Street, 20th Floor
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                                   Attorneys for the Plaintiff




                                                /s/ Deborah H. Share
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